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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                            §
                                                  §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                        §      Chapter 11 (Subchapter V)
                                                  §
         Debtor.                                  §

             DEBTOR’S EMERGENCY MOTION TO AMEND INTERIM ORDER
                  AUTHORIZING THE USE OF CASH COLLATERAL

         THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
         OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
         TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
         MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
         AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
         YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
         IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
         FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
         AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
         DECIDE THE MOTION AT THE HEARING.

         EMERGENCY RELIEF HAS BEEN REQUESTED, IF THE COURT CONSIDERS THE
         MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO
         ANSWER, IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE
         EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD FILE AN
         IMMEDIATE RESPONSE. REPRESENTED PARTIES SHOULD ACT THROUGH THEIR
         ATTORNEY.

         AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S DIAL IN FACILITY. YOU
         MAY ACCESS THE FACILITY AT 832-917-1510. YOU WILL BE RESPONSIBLE FOR YOUR
         OWN LONG-DISTANCE CHARGES. ONCE CONNECTED, YOU WILL BE ASKED TO
         ENTER THE CONFERENCE ROOM NUMBER. JUDGE LOPEZ’ CONFERENCE ROOM
         NUMBER IS 590153. YOU MAY VIEW VIDEO VIA GOTOMEETING. TO USE
         GOTOMEETING, THE COURT RECOMMENDS THAT YOU DOWNLOAD THE FREE
         GOTOMEETING APPLICATION. TO CONNECT, YOU SHOULD ENTER THE MEETING
         CODE “JUDGELOPEZ” IN THE GOTOMEETTING APP OR CLICK THE LINK ON JUDGE
         LOPEZ’S HOME PAGE IN THE SOUTHERN DISTRICT OF TEXAS WEBSITE. ONCE
         CONNECTED, CLICK THE SETTINGS ICON IN THE UPPER RIGHT-HAND CORNER AND
         ENTER YOUR NAME UNDER PERSONAL INFORMATION SETTING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         The above-captioned debtor and debtor-in-possession (the “Debtor” or “FSS”), in the
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above-referenced chapter 11 case, hereby files this emergency motion (the “Motion”) seeking an

order modifying this Court’s Interim Order Authorizing Debtor’s Use of Cash Collateral and

Providing Adequate Protection (the “Interim Order”) [Dkt No. 41]. In further support of the

Motion, the Debtor respectfully represents as follows:


                                      JURISDICTION AND VENUE

         1.       On July 29, 2022 (the “Petition Date”), the Debtor commenced the above

captioned case by filing a voluntary petition for relief under Subchapter V of Chapter 11 of Title

11 of the United States Code §§ 101, et seq. (the “Bankruptcy Code”).

         2.       The Debtor continues in the possession of its property and is operating and

managing its businesses as debtor and debtor-in-possession pursuant to Section 1182(2) of the

Bankruptcy Code.

         3.       No request for a trustee or examiner has been made. No statutory committee of

creditors has been appointed.

         4.       This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this

proceeding and this Motion are proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         5.       The statutory bases for the relief sought in this Motion are 11 U.S.C. §§ 105, 361, and

363 and Rule 4001(b) of the Federal Rules of Bankruptcy Procedure.


                                               BACKGROUND 1

         6.       FSS filed its Emergency Motion for an Interim and Final Order (I) Authorizing the



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 Additional factual background and information regarding the Debtor and its operations is set forth in the
Declaration of W. Marc Schwartz in Support of Voluntary Petition and First Day Motions

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Use of Cash Collateral Pursuant to sections 105, 361, and 363 of the Bankruptcy Code and

Federal Rule of Bankruptcy Procedure 4001(b) and (II) Granting Adequate Protection to the Pre-

Petition Secured Lender (the “Cash Collateral Motion”).

       7.      This Court held a hearing on the Cash Collateral Motion on August 3, 2022. The

Cash Collateral Motion incorporated a 13-Week Cash Collateral Budget (the “Budget”). At the

hearing, the Court authorized the use of cash collateral with certain modifications to the Budget

and other conditions which were incorporated into the Interim Order.

       8.      A critical component of FSS’s sales business is FSS’s ability to fill the orders when

the customer purchases the product from the InfowarsStore.com website. When a customer

purchases a product, they are charged a shipping fee as part of the sales price. Therefore, an

expectation is created that the customer will receive his product on a reasonable delivery schedule.

If the product is not fulfilled and delay occurs in shipping the product, the chance increases that

the customer may ask for a refund or cancel the order. An excessive amount of cancellation of

orders is catastrophic to FSS’s business and revenue generation. If orders do not timely ship,

customers will cancel orders triggering chargebacks on credit cards and a pattern of chargebacks

will adversely affect credit card processing, including possible termination of credit card

processing services.

       9.      FSS is facing a crisis in being able to fulfill product sales, as the Budget was

prepared in a conservative fashion and did not anticipate a surge in sales of the magnitude actually

experienced and the resulting increase in the need for a larger fulfillment budget. The Budget

authorized the Debtor to use $95,278 (with a 10% variance that amounts to $104,800) of cash

collateral to pay fulfillment costs to Blue Ascension, LLC. (“Blue Ascension”).

       10.     First, Alex Jones has no equity or any other stake or interest in Blue Ascension.

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Second, Patrick Riley, a former employee of FSS, started Blue Ascension in order to be a

specialized fulfillment logistics company. Third, FSS pays Blue Ascension to handle all FSS order

fulfillment operations.

       11.     Blue Ascension charges a per piece rate for fulfillment of $20 per order. For this,

Blue Ascension provides a range of services, including handling of receipt of inventory shipments,

stocking shelves, picking merchandise for orders, boxing, and shipping orders. Of the cost of

fulfillment, more than $14 consists of shipping costs. Customers are billed an average of $13.24

per order for shipping and handling,

       12.     But Blue Ascension will not incur shipping costs until it is first paid by FSS for

such costs. Blue Ascension, therefore, will not ship products ordered until receipt of the

fulfillment charge from the Debtor.

       13.     The Budget projected weekly revenues of $595,489. FSS projected that weekly

revenue amount based on sales for the week ended July 22 (times 1.25%), the first full week

following receipt of new product and the last week for which sales figures were available prior to

the Petition Date (July 29, 2022). Actual sales have far exceeded the budgeted sales projections,

for a number of reasons, including the receipt of new inventory (FSS had lacked product to sell for

some time). For the week ended July 29, FSS actual sales revenue was $961,918. For the week

ended August 5 (the first week the bankruptcy was pending), FSS actual sales revenue was

$898,869. So far this week (we only have sales figures for Monday) FSS sales continue at an

$800,000 a week pace.

       14.     On top of actual sales being robust as compared to budget, the Debtor anticipates

receipt of long back ordered inventory and new products that should sell quickly. According to

the CRO, orders could increase beyond the current level of sales, and perhaps increase to as high

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as $450,000 per day, as contrasted with $595,489 per week.

       15.     While this is good news on the one hand, it could be catastrophically dangerous if

FSS cannot timely fulfill these new orders. The use a “static” model to project fulfillment costs in

the Budget has led to serious under-budgeting of this expense item of the Debtor’s business.

       16.     With higher than projected sales, it has become clear to the CRO that the budgeted

fulfillment costs are inadequate and the inability to pay fulfillment costs as they are incurred will

result in damage to the business unless it is cured now.

       17.     On August 9th, 2022, the Debtor become aware of issues with the budget arising

from the inadequate funding of fulfillment costs due to the significant growth in orders, as

discussed in greater detail infra.

       18.     Debtor’s management began to assess the scale of the issue while Debtor’s counsel

contacted counsel for PQPR Holdings Limited LLC (“PQPR”), the secured lender, the subchapter

V Trustee, the U.S. Trustee and joint counsel for the litigation plaintiffs. All were advised of the

nature and scope of the issue by email dated August 11, 2022.

       19.     PQPR consents to the relief requested in the Motion. The Subchapter V Trustee,

based on phone conversation, does not oppose the relief requested in the Motion, and suggested

the Debtor seek consent form joint counsel for litigation plaintiffs and U.S. Trustee. The Debtor

has not heard back from these two parties as of filing of this Motion.


                                     RELIEF REQUESTED

       20.     In order to eliminate the need to use a static budget (which does not allow the

Debtor to capture for the increase in fulfillment costs when sales increase), the Debtor proposes to

instruct the credit card processor to withhold from the daily settlement $20.00 per order shipped


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and remit those funds directly to Blue Ascension, at the same time it remits the appropriate

percentage of collected funds to FSS and PQPR. There will be no net effect to the Debtor’s bottom

line by implementing this change, however the increased sales volume will be accretive to the

ending cash balance.

       21.     The Debtor believed that this solution is one FSS could adopt in the ordinary course

of its business. In an abundance of caution, the Debtor has been transparent with creditor and

parties in interest and now seeks an order of this Court modifying the Interim Order to authorize

implementation of the proposed solution set forth above effective with the sales reported for

Wednesday, August 10, 2022.

       22.     The Debtor further proposes to submit to the U.S. Trustee, the Subchapter V

Trustee, counsel for PQPR and Jarred Martin as a representative of the Connecticut and Texas

plaintiffs a report each Tuesday reporting sales and the allocation of distributions of those proceeds

for the preceding week.

       WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests the Court

enter an Order granting the relief requested and granting such other and further relief as the Court

may deem proper.




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Respectfully submitted.

                             LAW OFFICES OF RAY BATTAGLIA, PLLC


                             /S/ RAYMOND W. BATTAGLIA
                             Raymond W. Battaglia
                             State Bar No. 01918055
                             rbattaglialaw@outlook.com
                             66 Granburg Circle
                             San Antonio, Texas 78218
                             Tel. (210) 601-9405

                             Proposed Counsel to the Debtor and Debtor-In-
                             Possession

                             -and-

                             SHANNON & LEE LLP

                             /s/ Kyung S. Lee
                             Kyung S. Lee
                             State Bar No. 12128400
                             klee@shannonleellp.com
                             R. J. Shannon
                             State Bar No. 24108062
                             rshannon@shannonleellp.com
                             700 Milam Street, STE 1300
                             Houston, Texas 77002
                             Tel. (713) 714-5770

                             Proposed Co-Counsel to the Debtor
                             and Debtor in Possession




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                                 CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of the foregoing document was served by (a)
the Court’s CM/ECF system on all parties registered to receive such service on the date of filing,
(b) by U.S.P.S. first class mail on all parties indicated in the attached service list within 24 hours
of the filing, and (c) the following parties by email on the date of filing:

                                              /s/Raymond W. Battaglia
                                              Raymond W. Battaglia


Attn: Mark Bankson, William Ogden                       Attn: Avi Moshenberg
Kaster Lynch Farrar & Ball, LLP                         McDowell Heterhington LLP
1117 Herkimer Street                                    1001 Fannin Street, Suite 2700
Houston, TX 77008                                       Houston, TX 77002
mark@fbtrial.com                                        avi.moshenberg@mhllp.com
bill@fbtrial.com

                                                        Attn: Cordt Akers
Attn: Alinor C. Sterlin, Christopher                    The Akers Law Firm PLLC
Mattei,                                                 Cordt Akers
Matthew Blumenthal                                      3401 Allen Parkway, Suite 101
Koskoff Koskoff & Bieder                                Houston, TX 77019
350 Fairfield Avenue                                    cca@akersfirm.com
Bridgeport, CT 06604
asterling@koskoff.com
cmattei@koskoff.com
mblumenthal@koskoff.com                                 Attn: Daniel DeSouza
                                                        Copycat Legal PLLC
Attn: F. Andino Reynal                                  3111 N. University Drive, Suite 301
Fertitta & Reynal LLP                                   Coral Springs, FL 33065
917 Franklin St., Suite 600                             dan@copycatlegal.com
Houston, TX 77002
areynal@frlaw.us                                        Attn: Ryan E. Chapple
                                                        Cain & Skarnulis PLLC
Attn: Eric Henzy                                        303 Colorado Street, Suite 2850
Zeisler & Zeisler P.C.                                  Austin, Texas 78701
10 Middle Street, 15th Floor                            rchapple@cstrial.com
Bridgeport, CT 06604
ehenzy@zeislaw.com                                      Attn: Randy W. Williams
                                                        Byman & Associates PLLC
Attn: Shelby Jordan                                     7924 Broadway, Suite 104
Jordan & Ortiz, P.C.                                    Pearland, TX 77581
500 N. Shoreline Blvd. Suite 900                        rww@bymanlaw.com
Corpus Christi, Texas 78401
sjordan@jhwclaw.com


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Attn: Jarrod B. Martin                          Melissa Haselden
Chamberlain Hrdlicka                            Subchapter V Trustee
1200 Smith Street, Suite 1400                   700 Milam, Suite 1300
Houston, TX 77002                               Houston, TX 77002
jarrod.martin@chamberlinlaw.com                 mhaselden@haseldenfarro.com

Attn: Christopher J. Dylla                      Attn: Ha M. Nguyen, Jayson B. Ruff
Assistant Attorney General                      Office of U.S. Trustee
Bankruptcy & Collections Division               515 Rusk, Suite 3516
PO Box 12548                                    Houston, TX 77002
Austin, TX 78711-2548                           ha.nguyen@usdoj.gov
christopher.dylla@oag.texas.gov                 jayson.b.ruff@usdoj.gov



                                    USPS Service List
                           Twenty Largest Unsecured Creditors
Elevated Solutions Group
28 Maplewood Drive                              Commerce CDN, LLC
Cos Cob, CT 06870                               221 E 63rd Street
                                                Savannah, GA 31405
Christopher Sadowski
c/o Copycat Legal PLLC                          Paul Watson
3111 N. University Drive STE 301                9 Riverdale Road
Coral Springs, FL 33065                         Ranmoor Sheffield
                                                South Yorkshire S10 3FA
Atomial LLC                                     United Kingdom
1920 E. Riverside Dr.
Suite A-120 #124                                Brennan Gilmore
Austin, TX 78741                                c/o Civil rights Clinic
                                                600 New Jersey Avenue, NW
Cloudflare, Inc                                 Washington, DC 20001
Dept LA 24609                                   Greenair, Inc
Pasadena, CA 91185-4609                         23569 Center Ridge Rd
                                                Westlake, OH 44145
Jacquelyn Blott
200 University Blvd                             Edgecast, Inc
Suite 225 #251                                  Dept CH 18120
Round Rock, TX 78665                            Palatine, IL 60055

Joel Skousen                                    Ready Alliance Group, Inc
PO Box 565                                      PO Box 1709
Spring City, UT 84662                           Sandpoint, ID 83864




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Getty Images, Inc
PO Box 953604                                    JW JIB Productions, LLC
St. Louis, MO 63195-3604                         2921 Carvelle Drive
                                                 Riviera Beach, FL 33404
RatsMedical.com                                  CustomTattoNow.com
c/o Rapid Medical                                16107 Kensington Dr. #172
120 N Redwood Rd                                 Sugar Land, TX 77479
North Salt Lake, UT 84054

David Icke Books Limited                         AT&T
c/o Ickonic Enterprises Limited                  PO Box 5001
St. Helen's House King Street                    Carol Stream, IL 60197-5001
Derby DE1 3EE
United Kingdom
                                                 Justin Lair
                                                 1313 Lookout Ave
WWCR                                             Klamath Falls, OR 97601
1300 WWCR Ave
Nashville, TN 37218-3800

                        Parties Claiming Interest or Lien Affected
PQPR Holdings Limited, LLC
c/o Stephen Lemmon
1801 S. Mopac Expressway
Suite 320
Austin, TX 78746

                            Parties Filing Notice of Appearance
Ryan E. Chapple                                  Jarrod B. Martin
Cain & Skarnulis PLLC                            Chamberlain Hrdlicka
303 Colorado Street, Suite 2850                  1200 Smith Street, Suite 1400
Austin, Texas 78701                              Houston, TX 77002

Randy W. Williams                                Christopher J. Dylla
Byman & Associates PLLC                          Assistant Attorney General
7924 Broadway, Suite 104                         Bankruptcy & Collections Division
Pearland, TX 77581                               PO Box 12548
                                                 Austin, TX 78711-2548
Attn: Shelby Jordan
Jordan & Ortiz, P.C.
500 N. Shoreline Blvd. Suite 900
Corpus Christi, Texas 78401




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                                     Subchapter V Trustee
  Melissa Haselden
  Subchapter V Trustee
  700 Milam, Suite 1300
  Houston, TX 77002

                                          U.S. Trustee
  Attn: Ha M. Nguyen, Jayson B. Ruff
  Office of the U.S. Trustee
  515 Rusk Ave STE 3516
  Houston, TX 77002

                                    Additional Notice Parties
Attn: Mark Bankson, William Ogden                  Attn: Alinor C. Sterling, Christopher Mattei,
Kaster Lynch Farrar & Ball, LLP                    Matthew Blumenthal
1117 Herkimer Street                               Koskoff Koskoff & Bieder
Houston, TX 77008                                  350 Fairfield Avenue
                                                   Bridgeport, CT 0660




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